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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

     In re:
     JACOBS, Todd R.                                          Chapter 13
     SSN: xxx-xx-8665                     Debtor              Case No. 17-12172-JNF

        TRUSTEE’S OBJECTION TO CONFIRMATION OF DEBTOR’S AMENDED
                             CHAPTER 13 PLAN

        Now comes Carolyn Bankowski, Standing Chapter 13 Trustee (“Trustee”), and
respectfully objects to confirmation of the Debtor’s Amended Chapter 13 Plan, (the “Plan”), and
for reasons says as follows:

1.       On August 15, 2017, the Trustee convened the §341 meeting of creditors at which the
         Debtor was present with counsel.

2.       On October 31, 2017, the Debtor filed the Plan. The Trustee is unable to recommend the
         Plan for confirmation at this time.

3.       The Plan proposes a monthly payment of $94.00 for a term of 60 months and a dividend
         of 0% to unsecured creditors.

4.       The Debtor fails to provide for a monthly mortgage, real estate tax, insurance, or utilities
         or expense on Schedule J. The Trustee asserts that Schedule J is not realistic and once
         the expenses are provided for, the Plan will not be feasible.

5.       The Debtor has Amended Schedule I to increase the net business income from $1,255.01
         to $4,180.00. The Debtor has failed to provide the Trustee with evidence of the increased
         income, a prior year profit and loss and year-to-date profit and loss statements.

6.       The Debtor fails to disclose that any non-exempt proceeds from the personal injury claim
         disclosed on Schedule A/B will be devoted to the holders of general unsecured claims.
         The Trustee asserts that the Plan is not in the best interest of creditors pursuant to 11
         U.S.C. §1325 (a)(4).

7.       The Plan proposes a consensual modification for the first mortgage of MGTLQ Investors
         for the property located at 70 Treetop Circle, Marston Mills, MA. However, MGTLQ
         Investors has not yet accepted the modification of the mortgage.

8.       The Plan proposes to bifurcate the claim of Citimortgage Bank for the second mortgage
         against the property located at 70 Treetop Circle, Marston Mills, MA. The Plan fails to
         provide for the unsecured portion of the claim.

9.       The Court entered an Order on September 22, 2017, sustaining the Trustee’s Objection to
         Confirmation of Plan. The Debtor has failed to address the issues raised in the prior
         objection.




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WHEREFORE, the Trustee requests that the Court sustain the objection to confirmation and for
such other relief as is proper.

Dated: November 29, 2017

                                       Respectfully submitted,
                                       Carolyn Bankowski
                                       Standing Chapter 13 Trustee

                                       /s/ Carolyn Bankowski
                                       Carolyn Bankowski BBO# 631056
                                       Patricia A. Remer BBO# 639594
                                       Office of the Chapter 13 Trustee
                                       P.O. Box 8250
                                       Boston, MA 02114
                                       (617) 723-1313
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                        UNITED STATES BANKRUPTCY COURT
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  JACOBS, Todd R.                                         Chapter 13
  SSN: xxx-xx-8665                     Debtor             Case No. 17-12172-JNF



                                    Certificate of Service

       The undersigned hereby certifies that a copy of the Trustee’s Objection to Confirmation
of Debtor’s Amended Chapter 13 Plan was served via first class mail, postage prepaid on the
Debtor and Debtor’s counsel at the addresses set forth below or by electronic notice.

                                    /s/ Carolyn Bankowski
                                      Carolyn Bankowski
Dated: November 29, 2017


Todd Jacobs                                                  Vicki Mitchell, Esq.
70 Treetop Circle                                            Merchant Square
Marston Mills, MA 02648                                      PO Box 1048
                                                             Sandwich, MA 02563




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